                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 THE DOWNTOWN SOUP KITCHEN
 d/b/a DOWNTOWN HOPE CENTER,

        Plaintiff,

 v.                                                     Case No. 3:18-cv-00190-SLG
 MUNICIPALITY OF ANCHORAGE,
 ANCHORAGE EQUAL RIGHTS
 COMMISSION, and PAMELA BASLER,
 Individually and in her Official Capacity as
 the Executive Director of the Anchorage
 Equal Rights Commission,

        Defendants.


                              JOINT CONSENT DECREE

       Plaintiff The Downtown Soup Kitchen d/b/a Downtown Hope Center (“Hope

Center”) filed suit against Defendants Municipality of Anchorage, Anchorage Equal Rights

Commission, and Pamela Basler, individually and in her official capacity (collectively

“Defendants”), for violations of Hope Center’s rights under the United States and Alaska

Constitutions, and requested that the Court grant injunctive and declaratory relief and

award damages.

       On August 9, 2019, the Court issued an order temporarily enjoining Defendants

from (1) enforcing AMC § 5.20.050 and AMC § 5.20.020 as applied to the provision of

overnight living space to homeless persons by Hope Center and its agents, including its

right to post its desired policies, and to open its overnight shelter only to persons who were

determined to be female at birth; and (2) enforcing AMC § 5.20.050(A)(2)(b) as applied to



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the right of Hope Center to post and discuss its desired policies with respect to its overnight

homeless shelter.

       Hope Center and Defendants (collectively the “Parties”) agree, and this Court by

entering this Consent Decree finds, that this Consent Decree has been negotiated by the

Parties in good faith, that settlement of this matter is intended to avoid expensive and

protracted litigation between the Parties, and that this Consent Decree is fair, reasonable,

and in the public interest.

       Therefore, with the Parties’ consent, it is ordered and decreed as follows:

                                    I. JURISDICTION

       For purposes of entry and enforcement of this Consent Decree, the Parties agree that

the Court retains jurisdiction over this action and may issue such further orders or

directions solely as may be necessary or appropriate to enter, construe, implement, modify,

or enforce the terms of this Consent Decree. The Parties agree to provide written notice to

all counsel of record of their intent to seek judicial relief regarding any dispute arising from

this Consent Decree, no less than five (5) days prior to filing for relief with the Court.

                          II. COVENANTS BY THE PARTIES

       Defendants stipulate that AMC § 5.20.020 does not apply to Hope Center and that

Hope Center is not an “owner or operator of a public accommodation” within the meaning

of AMC § 5.20.050. As such, Defendants covenant that—tracking the language from the

Court’s August 9, 2019 order—they will not (1) enforce AMC § 5.20.050 and AMC §




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5.20.020 to the provision of overnight living space to homeless persons by Hope Center

and its agents, including its right to post its desired policies, and to open its overnight

shelter only to persons who were determined to be female at birth; and (2) enforce AMC §

5.20.050(A)(2)(b) as applied to the right of Hope Center to post and discuss its desired

policies with respect to its overnight homeless shelter.

                        III. ATTORNEYS’ FEES AND COSTS

       Defendants shall pay to Plaintiff Hope Center $1.00 in damages and $100,000.00 in

attorneys’ fees and costs to Hope Center’s attorneys, Alliance Defending Freedom, within

thirty (30) days of the date this Order is signed.

       Upon payment of the amounts set forth above, all claims not resolved by this

Consent Decree are dismissed, provided that the Court retains jurisdiction of this case

solely to enforce the terms of this Consent Decree.

                                 IV. MODIFICATIONS

       This Consent Decree shall not be modified or amended except by mutual written

consent of all Parties, with approval of the Court.

                         V. REPRESENTATIVE AUTHORITY

       Each undersigned representative of the Parties to this Consent Decree certifies that

he or she is fully authorized by the party to enter into and execute the terms and conditions

of this Consent Decree, and to legally bind such party to this Consent Decree. By their

representative’s signature below, the Parties consent to entry of this Consent Decree.




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      Respectfully submitted this 30th day of September, 2019.

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                                       ORDER

      Upon consideration of the above, the Court finds that this Consent Decree is fair

and reasonable, both procedurally and substantively, consistent with applicable law, in

good faith, and in the public interest. The foregoing Consent Decree is hereby

APPROVED.

      There being no just reason for delay, the Court expressly directs, pursuant to Rule

54(b), ENTRY OF FINAL JUDGMENT in accordance with the terms of the Consent

Decree.


      DATED this ____ day of __________, 2019, at Anchorage, Alaska.




                                            Judge Sharon L. Gleason
                                            UNITED STATES DISTRICT JUDGE




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